Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 1 of 13                     PageID #: 132




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

   ______________________________
                                 )
   Philip Ripton,                )
                                 )
                Plaintiff,       )            Civil No. 07-CV-00020-BW
                                 )
   v.                            )
                                 )
   Camp Dresser & McKee Inc.     )            CONSENT CONFIDENTIALITY ORDER
   and CDM Constructors Inc.,    )
                                 )
                Defendants.      )
   ______________________________)

          The parties to this Consent Confidentiality Order have agreed to the terms of this

   Order; accordingly, it is ORDERED:

          1. Scope. All documents produced in the course of discovery, including initial

   disclosures, all response to discovery requests, all deposition testimony and exhibits,

   other materials which may be subject to restrictions on disclosure for good cause and

   information derived directly therefrom (hereinafter collectively “documents”), shall be

   subject to this Order concerning confidential information as set forth below. This Order is

   subject to the Local Rules of this District and the Federal Rules of Civil Procedure on

   matters of procedure and calculation of time periods.

          2. Form and Timing of Designation. A party may designate documents as

   confidential and restricted in disclosure under this Order by placing or affixing the words

   “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” on the document in a

   manner that will not interfere with the legibility of the document and that will permit

   complete removal of the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

   designation. Documents shall be designated CONFIDENTIAL - SUBJECT TO
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 2 of 13                                      PageID #: 133




   PROTECTIVE ORDER prior to or at the time of the production or disclosure of the

   documents. The designation “CONFIDENTIAL - SUBJECT TO PROTECTIVE

   ORDER” does not mean that the document has any status or protection by statute or

   otherwise except to the extent and for the purposes of this Order.

            3. Documents Which May be Designated CONFIDENTIAL - SUBJECT TO

   PROTECTIVE ORDER. Any party may designate documents as CONFIDENTIAL -

   SUBJECT TO PROTECTIVE ORDER but only after review of the documents by an

   attorney1 or a party appearing pro se who has in good faith determined that the

   documents contain information protected from disclosure by statute or that should be

   protected from disclosure as confidential personal information, trade secrets, personnel

   records, or commercial information. The designation shall be made subject to the

   standards of Rule 11 and the sanctions of Rule 37 of the Federal Rules of Civil

   Procedure. Information or documents that are available in the public sector may not be

   designated as CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER.

            4. Reading Room. In order to facilitate timely disclosure of a large number of

   documents that may contain confidential documents, but that have not yet been reviewed

   and designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, the

   following “Reading Room” procedure may be used at the election of the producing party.

            (a) Reading Room Review. Documents may be produced for review at a party’s

            facility or other physical or electronic controlled location (“Reading Room”) prior



   1
     An attorney who reviews the documents and designates them as CONFIDENTIAL - SUBJECT TO
   PROTECTIVE ORDER must be admitted to the Bar of at least one state but need not be admitted to
   practice in the District of Maine and need not file the certification required of visiting lawyers by Local
   Rule 83.1(c) unless he/she is appearing generally in the case on behalf of a party. By designating
   documents confidential pursuant to this Order, counsel submits to the jurisdiction and sanctions of this
   Court on the subject matter of the designation.


                                                          2
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 3 of 13                    PageID #: 134




         to designation as CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER.

         After review of the documents, the party seeking discovery may specify those for

         which copies are requested. If the producing party elects to designate any

         documents CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, the

         copies shall be so marked prior to further production.

         (b) No Waiver of Confidentiality. The production of documents for review

         within the Reading Room shall not be deemed a waiver of any claim of

         confidentiality, so long as the reviewing parties are advised that pursuant to this

         Order the Reading Room may contain confidential documents that have not yet

         been designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER.

         (c) Treatment of Produced Documents as CONFIDENTIAL - SUBJECT TO

         PROTECTIVE ORDER. The reviewing party shall treat all documents reviewed

         in the Reading Room as designated CONFIDENTIAL - SUBJECT TO

         PROTECTIVE ORDER at the time reviewed. Documents copied and produced

         from the Reading Room that are not designated CONFIDENTIAL - SUBJECT

         TO PROTECTIVE ORDER are not subject to this Order.

          (d) Production of Documents. Unless otherwise agreed or ordered, copies of

         Reading Room documents shall be produced within thirty days after the request

         for copies is made. Production may be made by providing electronic copies of the

         documents so long as copies reasonably as legible as the originals may be

         produced therefrom.

         5. Depositions. Deposition testimony shall be deemed CONFIDENTIAL -

   SUBJECT TO PROTECTIVE ORDER only if designated as such. Such designation shall




                                               3
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 4 of 13                      PageID #: 135




   be specific as to the portions to be designated CONFIDENTIAL - SUBJECT TO

   PROTECTIVE ORDER. Depositions, in whole or in part, shall be designated on the

   record as CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER at the time of the

   deposition. Deposition testimony so designated shall remain CONFIDENTIAL -

   SUBJECT TO PROTECTIVE ORDER until seven days after delivery of the transcript by

   the court reporter. Within seven days after delivery of the transcript, a designating party

   may serve a Notice of Designation to all parties of record as to specific portions of the

   transcript to be designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER.

   Thereafter, those portions so designated shall be protected as CONFIDENTIAL -

   SUBJECT TO PROTECTIVE ORDER pending objection under the terms of this Order.

   The failure to serve a Notice of Designation shall waive the CONFIDENTIAL -

   SUBJECT TO PROTECTIVE ORDER designation made on the record of the deposition.

          6. Protection of Confidential Material.

          (a) General Protections. Documents designated CONFIDENTIAL - SUBJECT

          TO PROTECTIVE ORDER under this Order shall not be used or dis closed by the

          parties, counsel for the parties or any other persons identified in ¶ 6(b) for any

          purpose whatsoever other than to prepare for and to conduct discovery and trial in

          this action, including any appeal thereof.

          (b) Limited Third-Party Disclosures. The parties and counsel for the parties

          shall not disclose or permit the disclosure of any CONFIDENTIAL - SUBJECT

          TO PROTECTIVE ORDER documents to any third person or entity except as set

          forth in subparagraphs (1)-(6). Subject to these requirements, the following




                                                 4
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 5 of 13                      PageID #: 136




         categories of persons may be allowed to review documents that have been

         designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER:

                (1) Counsel. Counsel for the parties and employees of counsel who have

                responsibility for the preparation and trial of the action;

                (2) Parties. Parties and employees of a party to this Order, but only to the

                extent counsel determines that the specifically named individual party or

                employee’s assistance is reasonably necessary to the conduct of the

                litigation in which the information is disclosed, and only after the party or

                employees of a party agree to be bound by the terms of this confidentiality

                order by executing the Acknowledgement and Agreement attached as

                Exhibit A.

                (3) Court Reporters and Recorders . Court reporters and recorders

                engaged for depositions;

                (4) Contractors. Those persons specifically engaged for the limited

                purpose of making copies of documents or organizing or processing

                documents but only after each such person has completed the certification

                contained in Attachment A, Acknowledgment of Understanding and

                Agreement to Be Bound.

                (5) Consultants and Experts. Consultants, investigators, or experts

                (hereinafter referred to collectively as “experts”) employed by the parties

                or counsel for the parties to assist in the preparation and trial of this action,

                but only after such persons have completed the certification contained in




                                               5
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 6 of 13                    PageID #: 137




                Attachment A, Acknowledgment of Understanding and Agreement to Be

                Bound; and

                (6) Others by Consent. Other persons only by written consent of the

                producing party or upon order of the Court and on such conditions as may

                be agreed or ordered. All such persons shall execute the certification

                contained in Attachment A, Acknowledgment of Understanding and

                Agreement to Be Bound.

         (c) Control of Documents. Counsel for the parties shall make reasonable efforts

         to prevent unauthorized disclosure of documents designated as CONFIDENTIAL

         - SUBJECT TO PROTECTIVE ORDER pursuant to the terms of this Order.

         Counsel shall maintain the originals of the forms signed by persons

         acknowledging their obligations under this Order for a period of six years from

         the date of signing.

         (d) Copies. Prior to production to another party, all copies, electronic images,

         duplicates, extracts, summaries or descriptions (hereinafter referred to collectively

         as “copies”) of documents designated as CONFIDENTIAL - SUBJECT TO

         PROTECTIVE ORDER under this Order, or any individual portion of such a

         document, shall be affixed with the designation “CONFIDENTIAL - SUBJECT

         TO PROTECTIVE ORDER” if the word does not already appear on the copy.

         All such copies shall thereafter be entitled to the protection of this Order. The

         term “copies” shall not include indices, electronic databases or lists of documents

         provided these indices, electronic databases or lists do not contain substantial




                                               6
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 7 of 13                      PageID #: 138




          portions or images of the text of confidential documents or otherwise disclose the

          substance of the confidential information contained in those documents.

          7. Filing of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

   Documents Under Seal. Before any document marked as CONFIDENTIAL - SUBJECT

   TO PROTECTIVE ORDER is filed with the Clerk the party filing the document shall

   make reasonable efforts to ensure that the document is protected from public disclosure.

   The filing party shall first consult with the party which originally designated the

   document as CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER to determine

   whether, with the consent of that party, a redacted document may be filed with the Court

   not under seal. Where agreement is not possible or adequate, a confidential document

   may be electronically filed under seal only in accordance with Local Rule 7A. Other than

   motions and memoranda governed by Local Rule 7A, if the contents of

   CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER documents are incorporated

   into memoranda or other pleadings filed with the court, counsel shall prepare two

   versio ns of the pleadings, a public and a confidential version. The public version shall

   contain a redaction of references to CONFIDENTIAL - SUBJECT TO PROTECTIVE

   ORDER documents and shall be filed with the Clerk. The confidential version shall be a

   full and complete version of the pleading and shall be filed with the Clerk under seal

   under Local Rule 7A.

          8. No Greater Protection of Specific Documents. No party may withhold

   information from discovery on the ground that it requires protection greater than that

   afforded by this Order unless the party moves for an order providing such special

   protection.




                                                 7
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 8 of 13                    PageID #: 139




          9. Challenges by a Party to Designation as Confidential. Any

   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER designation is subject to

   challenge by any party or non-party (hereafter “party”). The following procedure shall

   apply to any such challenge.

          (a) Objection to Confidentiality. Within 30 days of the receipt of any document

          designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER or of the

          refusal to produce a document on the ground of such designation, a party may

          serve upon the designating party an objection to the designation. The objection

          shall specify the documents to which the objection is directed and shall set forth

          the reasons for the objection as to each document or category of documents.

          CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER documents to which

          objection has been made shall remain CONFIDENTIAL - SUBJECT TO

          PROTECTIVE ORDER until designated otherwise by waiver, agreement or order

          of the Court.

          (b) Obligation to Meet and Confer. The objecting party and the party which

          designated the documents to which objection has been made shall have fifteen

          (15) days from service of the objection to meet and confer in a good faith effort to

          resolve the objection by agreement. If agreement is reached confirming or

          waiving the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

          designation as to any documents subject to the objection, the designating party

          shall serve on all parties a notice specifying the documents and the nature of the

          agreement.




                                               8
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 9 of 13                        PageID #: 140




          (c) Obligation to File Motion. In the absence of agreement as to any documents

          designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER, the

          designating party shall file within 30 days of the service of the objection a motion

          to retain the CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

          designation. The moving party has the burden to show good cause for the

          CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER designation. The

          failure to file the motion waives the CONFIDENTIAL - SUBJECT TO

          PROTECTIVE ORDER designation of documents to which objection was made.

          10. Action by the Court. Applications to the Court for an order relating to

   documents designated CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER shall

   be by motion under Local Rule 7. Nothing in this Order or any action or agreement of a

   party under this Order limits the Court’s power to make orders concerning the disclosure

   of documents produced in discovery or at trial.

          11. Use of Confidential Documents or Information at Trial. A party which

   intends to present or which anticipates that another party may present at trial

   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER documents or information

   derived therefrom shall identify the issue, not the information, in the pretrial

   memorandum. The Court may thereafter make such orders as are necessary to govern the

   use of such documents or information at trial.

          12. Obligations on Conclusion of Litigation.

          (a) Order Remains in Effect. Unless otherwise agreed or ordered, this Order

          shall remain in force after dismissal or entry of final judgment not subject to

          further appeal.




                                                 9
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 10 of 13                     PageID #: 141




         (b) Return of CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

         Documents. Within thirty days after dismissal or entry of final judgment not

         subject to further appeal, all documents treated as CONFIDENTIAL - SUBJECT

         TO PROTECTIVE ORDER under this Order, including copies as defined in ¶

         6(d), shall be returned to the producing party unless: (1) the document has been

         offered into evidence or filed without restriction as to disclosure; (2) the parties

         agree to destruction in lieu of return; or (3) as to documents bearing the notations,

         summations, or other mental impressions of the receiving party, that party elects

         to destroy the documents and certifies to the producing party that it has done so.

         Notwithstanding the above requirements to return or destroy documents, counsel

         may retain attorney work product, including an index which refers or relates to

         information designated CONFIDENTIAL - SUBJECT TO PROTECTIVE

         ORDER, so long as that work product does no t duplicate verbatim substantial

         portions of the text or images of confidential documents. This work product shall

         continue to be CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER under

         this Order. An attorney may use his or her work product in a subsequent litigation

         provided that its use does not disclose or use CONFIDENTIAL - SUBJECT TO

         PROTECTIVE ORDER documents.

         (c) Return of Documents Filed under Seal. After dismissal or entry of final

         judgment not subject to further appeal, the Clerk may elect to return to counsel for

         the parties or, after notice, destroy documents filed or offered at trial under seal or

         otherwise restricted by the Court as to disclosure.




                                               10
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 11 of 13                        PageID #: 142




          13. Order Subject to Modification. This Order shall be subject to modification

   by the Court on its own motion or on motion of a party or any other person with standing

   concerning the subject matter. Motions to modify this Order shall be served and filed

   under Local Rule 7.

          14. No Prior Judicial Determination. This Order is entered based on the

   representations and agreements of the parties and for the purpose of facilitating

   discovery. Nothing herein shall be construed or presented as a judicial determination that

   any documents or information designated CONFIDENTIAL - SUBJECT TO

   PROTECTIVE ORDER by counsel or the parties is subject to protection under Rule

   26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court

   may rule on a specific document or issue.

          15. Persons Bound. This Order shall take effect when entered and shall be

   binding upon all counsel and their law firms, the parties, and persons made subject to this

   Order by its terms.

          So Ordered.

   Dated June 11, 2007                   /s/ Margaret J. Kravchuk
                                         U.S. Magistrate Judge

   WE SO MOVE                                    WE SO MOVE/CONSENT
   and agree to abide by the                     and agree to abide by the
   terms of this Order                           terms of this Order

   /s/ Christopher D. Hawkins, Esq.              /s/ Peter Thompson, Esq._____
   Signature                                     Signature

   Christopher T. Hawkins, Esq.                  Peter Thompson, Esq.________
   Printed Name                                  Printed Name


   Counsel for: Defendants                       Counsel for: Plaintiff
   Dated: June 8, 2007                           Dated: May 24, 2007



                                               11
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 12 of 13                     PageID #: 143




                                      ATTACHMENT A




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


   ______________________________
                                 )
   Philip Ripton,                )
                                 )
                Plaintiff,       )               Civil No. 07-CV-00020-BW
                                 )
   v.                            )
                                 )
   Camp Dresser & McKee Inc.     )
   and CDM Constructors Inc.,    )
                                 )
                Defendants.      )
   ______________________________)




                                 ACKNOWLEDGMENT
                                       AND
                               AGREEMENT TO BE BOUND



          The undersigned hereby acknowledges that he/she has read the Confidentiality

   Order dated ____________________________ in the above-captioned action and

   attached hereto, understands the terms thereof, and agrees to be bound by its terms. The

   undersigned submits to the jurisdiction of the United States District Court for the District

   of Maine in matters relating to the Confidentiality Order and understands that the terms

   of the Confidentiality Order obligate him/her to use documents designated

   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER in accordance with the Order




                                                12
Case 1:07-cv-00020-JAW Document 33 Filed 06/11/07 Page 13 of 13                   PageID #: 144




   solely for the purposes of the above-captioned action, and not to disclose any such

   documents or information derived directly therefrom to any other person, firm or

   concern.

           The undersigned acknowledges that violation of the Confidentiality Order may

   result in penalties for contempt of court.



   Name:          ______________________________________

   Job Title:     ______________________________________

   Employer:      ______________________________________

   Business Address:              ___________________________

                                  ___________________________

                                  ___________________________



   Date: _________________ ___________________________
                           Signature




                                                13
